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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                            DAVENPORT DIVISION



 UNITED STATES OF AMERICA,                                 No. 3:07-cr-0634-02-JAJ

                 Plaintiff,

 vs.

 CHRISTOPHER JAMES MCGEE,

                 Defendant.                                   ORDER




       This matter comes before the court pursuant to a review of all sentences imposed
by the court for crack cocaine offenses. The court is making an independent determination
on each case as to whether the defendant is eligible for a reduction in sentence, regardless
of whether the defendant files a motion.
       Mr. McGee was convicted of a conspiracy to distribute at least fifty grams of
cocaine base after he had suffered two prior felony drug convictions. Accordingly, he
received a mandatory life sentence. 21 U.S.C. § 841(b)(1)(A). He was also convicted of
possession with intent to distribute less than five grams of crack cocaine in Count 2.
       The defendant is not eligible for a reduction in his mandatory life sentence. United
States v. Sidney, 648 F.3d 904, 906 (8th Cir. 2011); United States v. Bones, No. 11-1278,
___ F.3d ___ (8th Cir. Nov. 21, 2011). He may be eligible for a reduction in sentence on
Count 2 but a reduction in that sentence would do him no good. That is, the defendant will
still face a mandatory life sentence on Count 1. Unless the defendant secures relief from
his mandatory life sentence, a reduction in his sentence on Count 2 will not assist him in
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getting out of prison earlier. Accordingly, the court will determine any reduction in the
defendant’s sentence on Count 2 only when the defendant first secures relief from his
mandatory life sentence on Count 1. Because there is no limitations period for the
reduction in his sentence, the court can determine this matter at a later time.
       Upon the foregoing,
       IT IS ORDERED that the court will defer determining any reduction in the
defendant’s sentence on Count 2 until such time as he is able to secure relief from the
mandatory life sentence he is serving on Count 1.
       DATED this 1st day of December, 2011.




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